                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                                      8:17CR22

       vs.
                                                                       ORDER
JAMES NARVAEZ,

                     Defendant.


     UPON THE ORAL MOTION OF THE DEFENDANT,


     IT IS ORDERED that the Change of Plea hearing is continued to May 9, 2017 at 2:00 p.m.
before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska. For this defendant, the time between today’s
date and the hearing on the anticipated plea of guilty is excluded for purposes of computing the
limits under the Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).


     Since this is a criminal case, the defendant must be present, unless excused by the Court.


       Dated this 24th day of April, 2017.

                                                    BY THE COURT:

                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge
